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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:      Jacqueline D. White                        CASE NO.: 20-14876-amc
                           Debtor
                                                        CHAPTER 13
             SN Servicing Corporation as servicer
             for U.S. Bank Trust National               Judge: Ashely M. Chan
             Association, as Trustee of the LB-
             Cabana Series IV Trust                     Hearing Date: February 14, 2024 at 11:00AM
             v.

             Jacqueline D. White                        Objection Deadline: February 9, 2024
             Scott F. Waterman
                           Respondents


              NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY


        PLEASE TAKE NOTICE, that SN Servicing Corporation as servicer for U.S. Bank Trust
National Association, as Trustee of the LB-Cabana Series IV Trust (on behalf of itself and together
with any successor and/or assign “Movant”), filed a Motion for Relief from the Automatic Stay
with respect to the property located at 6107 Cobbs Creek Parkway , Philadelphia, PA 19143.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult an attorney.)

       1. If you do not want the court to grant the relief sought in the motion or if you want
the court to consider your views on the motion, then on or before _February 9, 2024__ you
or your attorney must do all of the following:

       (a)      file an answer explaining your position at
                                  United States Bankruptcy Court
                                  Eastern District of Pennsylvania
                                         900 Market Street
                                             Suite 204
                              Robert N.C. Nix Sr. Federal Courthouse
                                      Philadelphia, PA 19107

      If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early
enough so that it will be received on or before the date stated above; and

       (b)      mail a copy to the Movant’s attorney:
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                                       Charles Wohlrab
                                    Friedman Vartolo, LLP
                                1325 Franklin Avenue, Suite 160
                                    Garden City, NY 11530
                                    Phone: (212) 471-5100
                                     Fax: (212) 471-5150
                               Bankruptcy@FriedmanVartolo.com

       2.     If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
above and attend the hearing, the Court may enter an order granting the relief requested in the
motion.

       3.      A hearing on the motion is scheduled to be held before the Honorable Judge
Ashely M. Chan at 900 Market Street, Suite 204, Robert N.C. Nix Sr. Federal Courthouse,
                            February 14, 2024 at ___________,
Philadelphia, PA 19107 on ________________        11:00AM       unless otherwise ordered by the
Court.

        4.     If a copy of the motion is not enclosed, a copy of the motion will be provided to
you if you request a copy from the attorney named in paragraph 1(b).

      5.      You may contact the Bankruptcy Clerk’s office at (215) 408-2830 to find out
whether the hearing has been canceled because no one filed an answer.


Dated: January 25, 2024
                                             By: /s/ Charles Wohlrab
                                             Charles Wohlrab, Esq.
                                             FRIEDMAN VARTOLO LLP
                                             Attorneys for SN Servicing Corporation as servicer
                                             for U.S. Bank Trust National Association, as
                                             Trustee of the LB-Cabana Series IV Trust
                                             1325 Franklin Avenue, Suite 160
                                             Garden City, NY 11530
                                             T: (212) 471-5100
                                             F: (212) 471-5150
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TO:

Jacqueline D. White
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Philadelphia, PA 19143
Bankruptcy Debtor

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Reading, PA 19606
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Brad J. Sadek
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Philadelphia, PA 19102
Attorney

Scott F. Waterman
2901 St. Lawrence Avenue, Suite 100
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Bankruptcy Trustee

United States Trustee
Robert N.C. Nix Federal Building - Suite 320, 900 Market Street
Philadelphia, PA 19107
United States Trustee
